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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


COMSYS SOLUTIONS LLC,                             )
                                                  )
       Plaintiff,                                 )
                                                  )
  v.                                              )          Case No. 22-745-RGA
                                                  )
UNIPHORE TECHNOLOGIES INC.,                       )          JURY TRIAL DEMANDED
                                                  )
       Defendant.                                 )


       ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT UNIPHORE
       TECHNOLOGIES INC. TO COMPLAINT FOR PATENT INFRINGEMENT

        Defendant Uniphore Technologies Inc. (“Uniphore”) hereby responds to the Complaint

(D.I. 1) of plaintiff Comsys Solutions LLC (“plaintiff” or “Comsys”) with the following answer

and affirmative defenses. Uniphore denies the allegations and characterizations in Comsys’

complaint unless expressly admitted in the following numbered paragraphs, which correspond to

the numbered paragraphs in the complaint.

                                  NATURE OF THE ACTION

        1.      Uniphore admits that plaintiff brought this action under the patent laws of the

United States, Title 35 United States Code. Uniphore admits that plaintiff alleges in its

complaint that this suit involves U.S. Patent Nos. 9,324,096 and 9,672,535. Any remaining

allegations in this paragraph set forth arguments and legal conclusions to which no response is

required. To the extent this paragraph includes any allegations to which a response is required,

Uniphore denies them, and specifically denies that it has committed acts of infringement.

        2.      Uniphore admits that plaintiff refers to U.S. Patent Nos. 9,324,096 and 9,672,535

as the “Patents-in-Suit.” Uniphore denies any remaining allegations in this paragraph.
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                                           THE PARTIES

        3.      Uniphore is without knowledge or information sufficient to form a belief as to the

truth of the allegations of this paragraph, and therefore denies them.

        4.      Uniphore admits that it is a Delaware corporation. Uniphore admits that its

headquarters are located at 1001 Page Mill Road, Building 4, Suite 100-B, Palo Alto, California,

94304. Uniphore admits that its registered agent in the State of Delaware is the Corporation

Service Company, at 251 Little Falls Drive, Wilmington, Delaware, 19809. Uniphore denies any

remaining allegations of this paragraph.

                                  JURISDICTION AND VENUE

        5.      Uniphore admits that plaintiff brought this action under the patent laws of the

United States, 35 U.S.C. §§1 et seq. Uniphore denies any remaining allegations of this

paragraph, and specifically denies that it has committed acts of infringement.

        6.      Uniphore admits that the Court has subject matter jurisdiction over this action

under 28 U.S.C. §§1331 and 1338(a).

        7.      Uniphore does not contest personal jurisdiction solely for the purpose of this

action. Any remaining allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement in this district or any other district.

        8.      Uniphore does not contest personal jurisdiction solely for the purpose of this

action. Any remaining allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a




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response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement in this district or any other district..

        9.      Uniphore does not contest venue under 28 U.S.C. §§ 1391(b) and 1400(b) solely

for the purpose of this action, but denies that venue is convenient or in the interests of justice

under 28 U.S.C. § 1404(a). Uniphore admits that it is a Delaware corporation. Any remaining

allegations in this paragraph set forth arguments and legal conclusions to which no response is

required. To the extent this paragraph includes any allegations to which a response is required,

Uniphore denies them, and specifically denies that it has committed acts of infringement in this

district or any other district.

                                    FACTUAL ALLEGATIONS

The ‘096 Patent

        10.     Uniphore admits that the plaintiff alleges in its complaint that this suit involves

U.S. Patent No. 9,324,096. To the extent the allegations in this paragraph purport to describe or

quote information from the ’096 patent, Uniphore states that the ’096 patent is the best source of

its full content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’096 patent, and denies any remaining allegations in this paragraph.

        11.     Uniphore is without knowledge or information sufficient to form a belief as to the

truth of the allegations of this paragraph, and therefore denies them.

        12.     Uniphore is without knowledge or information sufficient to form a belief as to the

truth of the allegations of this paragraph, and therefore denies them.

        13.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’096 patent, Uniphore states that the ’096 patent is the best source of its full




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content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’096 patent, and Uniphore denies any remaining allegations in this paragraph.

       14.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’096 patent, Uniphore states that the ’096 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’096 patent, and Uniphore denies any remaining allegations in this paragraph.

       15.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’096 patent, Uniphore states that the ’096 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’096 patent, and Uniphore denies any remaining allegations in this paragraph.

       16.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’096 patent, Uniphore states that the ’096 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’096 patent, and Uniphore denies any remaining allegations in this paragraph.

       17.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’096 patent, Uniphore states that the ’096 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’096 patent, and Uniphore denies any remaining allegations in this paragraph.

       18.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’096 patent, Uniphore states that the ’096 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’096 patent, and Uniphore denies any remaining allegations in this paragraph.




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       19.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’096 patent, Uniphore states that the ’096 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’096 patent, and Uniphore denies any remaining allegations in this paragraph.

       20.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’096 patent, Uniphore states that the ’096 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’096 patent, and Uniphore denies any remaining allegations in this paragraph.

       21.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’096 patent, Uniphore states that the ’096 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’096 patent, and Uniphore denies any remaining allegations in this paragraph.

       22.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’096 patent, Uniphore states that the ’096 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’096 patent, and Uniphore denies any remaining allegations in this paragraph.

       23.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’096 patent, Uniphore states that the ’096 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’096 patent, and Uniphore denies any remaining allegations in this paragraph.

       24.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’096 patent, Uniphore states that the ’096 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately



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represent the ’096 patent. The remaining allegations in this paragraph set forth arguments and

legal conclusions to which no response is required. To the extent this paragraph includes any

allegations to which a response is required, Uniphore denies them.

       25.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’096 patent, Uniphore states that the ’096 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’096 patent. The remaining allegations in this paragraph set forth arguments and

legal conclusions to which no response is required. To the extent this paragraph includes any

allegations to which a response is required, Uniphore denies them.

       26.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’096 patent, Uniphore states that the ’096 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’096 patent. The remaining allegations in this paragraph set forth arguments and

legal conclusions to which no response is required. To the extent this paragraph includes any

allegations to which a response is required, Uniphore denies them.

       27.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’096 patent, Uniphore states that the ’096 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’096 patent. The remaining allegations in this paragraph set forth arguments and

legal conclusions to which no response is required. To the extent this paragraph includes any

allegations to which a response is required, Uniphore denies them.

       28.     To the extent the allegations in this paragraph purport to describe or quote

information in one or more documents, Uniphore states that those documents are the best source



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of their full content and context. Uniphore denies the allegations to the extent they do not

accurately represent those documents. The remaining allegations in this paragraph set forth

arguments and legal conclusions to which no response is required. To the extent this paragraph

includes any allegations to which a response is required, Uniphore denies them.

       29.     To the extent the allegations in this paragraph purport to describe or quote

information in one or more documents, Uniphore states that those documents are the best source

of their full content and context. The remaining allegations in this paragraph set forth arguments

and legal conclusions to which no response is required. To the extent this paragraph includes

any allegations to which a response is required, Uniphore denies them.

       30.     The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them.

       31.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’096 patent, Uniphore states that the ’096 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’096 patent. The remaining allegations in this paragraph set forth arguments and

legal conclusions to which no response is required. To the extent this paragraph includes any

allegations to which a response is required, Uniphore denies them.

       32.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’096 patent, Uniphore states that the ’096 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’096 patent. The remaining allegations in this paragraph set forth arguments and




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legal conclusions to which no response is required. To the extent this paragraph includes any

allegations to which a response is required, Uniphore denies them.

          33.   To the extent the allegations in this paragraph purport to describe or quote

information from the ’096 patent, Uniphore states that the ’096 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’096 patent. The remaining allegations in this paragraph set forth arguments and

legal conclusions to which no response is required. To the extent this paragraph includes any

allegations to which a response is required, Uniphore denies them.

          34.   The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them.

The ‘535 Patent

          35.   Uniphore admits that the plaintiff alleges in its complaint that this suit involves

U.S. Patent No. 9,672,535. To the extent the allegations in this paragraph purport to describe or

quote information from the ’535 patent, Uniphore states that the ’535 patent is the best source of

its full content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’535 patent, and denies any remaining allegations in this paragraph.

          36.   Uniphore is without knowledge or information sufficient to form a belief as to the

truth of the allegations of this paragraph, and therefore denies them.

          37.   Uniphore is without knowledge or information sufficient to form a belief as to the

truth of the allegations of this paragraph, and therefore denies them.

          38.   Uniphore admits that the ’535 patent shares the same specification as the ’096

Patent.



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       39.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’535 patent, Uniphore states that the ’535 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’535 patent, and Uniphore denies any remaining allegations in this paragraph.

       40.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’535 patent, Uniphore states that the ’535 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’535 patent, and Uniphore denies any remaining allegations in this paragraph.

       41.      To the extent the allegations in this paragraph purport to describe or quote

information from the ’535 patent, Uniphore states that the ’535 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’535 patent, and Uniphore denies any remaining allegations in this paragraph.

       42.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’535 patent, Uniphore states that the ’535 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’535 patent. The remaining allegations in this paragraph set forth arguments and

legal conclusions to which no response is required. To the extent this paragraph includes any

allegations to which a response is required, Uniphore denies them.

       43.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’535 patent, Uniphore states that the ’535 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’535 patent. The remaining allegations in this paragraph set forth arguments and




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legal conclusions to which no response is required. To the extent this paragraph includes any

allegations to which a response is required, Uniphore denies them.

       44.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’535 patent, Uniphore states that the ’535 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’535 patent. The remaining allegations in this paragraph set forth arguments and

legal conclusions to which no response is required. To the extent this paragraph includes any

allegations to which a response is required, Uniphore denies them.

       45.     To the extent the allegations in this paragraph purport to describe or quote

information from the ’535 patent, Uniphore states that the ’535 patent is the best source of its full

content and context. Uniphore denies the allegations to the extent they do not accurately

represent the ’535 patent. The remaining allegations in this paragraph set forth arguments and

legal conclusions to which no response is required. To the extent this paragraph includes any

allegations to which a response is required, Uniphore denies them.

       46.     To the extent the allegations in this paragraph purport to describe or quote

information in one or more documents, Uniphore states that those documents are the best source

of their full content and context. Uniphore denies the allegations to the extent they do not

accurately represent those documents. The remaining allegations in this paragraph set forth

arguments and legal conclusions to which no response is required. To the extent this paragraph

includes any allegations to which a response is required, Uniphore denies them.

       47.     To the extent the allegations in this paragraph purport to describe or quote

information in one or more documents, Uniphore states that those documents are the best source

of their full content and context. Uniphore denies the allegations to the extent they do not



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accurately represent those documents. The remaining allegations in this paragraph set forth

arguments and legal conclusions to which no response is required. To the extent this paragraph

includes any allegations to which a response is required, Uniphore denies them.

       48.     The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them.

       49.     To the extent the allegations in this paragraph purport to describe or quote

information in one or more documents, Uniphore states that those documents are the best source

of their full content and context. Uniphore denies the allegations to the extent they do not

accurately represent those documents. The remaining allegations in this paragraph set forth

arguments and legal conclusions to which no response is required. To the extent this paragraph

includes any allegations to which a response is required, Uniphore denies them.

       50.     To the extent the allegations in this paragraph purport to describe or quote

information in one or more documents, Uniphore states that those documents are the best source

of their full content and context. Uniphore denies the allegations to the extent they do not

accurately represent those documents. The remaining allegations in this paragraph set forth

arguments and legal conclusions to which no response is required. To the extent this paragraph

includes any allegations to which a response is required, Uniphore denies them.

       51.     To the extent the allegations in this paragraph purport to describe or quote

information in one or more documents, Uniphore states that those documents are the best source

of their full content and context. Uniphore denies the allegations to the extent they do not

accurately represent those documents. The remaining allegations in this paragraph set forth




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arguments and legal conclusions to which no response is required. To the extent this paragraph

includes any allegations to which a response is required, Uniphore denies them.

       52.     The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them.

                                DEFENDANT’S PRODUCT(S)

       53.     Uniphore denies the allegations in this paragraph, and specifically denies that it

has committed acts of infringement.

       54.     Uniphore denies the allegations in this paragraph, and specifically denies that it

has committed acts of infringement.

The Accused Instrumentality compared to the ‘096 Patent

       55.     Uniphore admits that Exhibit E appears to be a document titled “US9324096B2 –

Claim 5 as applied to Emotion Research Lab.” Uniphore admits that it acquired a company

called Emotion Research Lab. To the extent the allegations in this paragraph purport to describe

or quote information in one or more documents, Uniphore states that those documents are the

best source of their full content and context. Uniphore denies the allegations to the extent they

do not accurately represent those documents. Uniphore denies any remaining allegations in this

paragraph.

       56.     To the extent the allegations in this paragraph purport to describe or quote

information in one or more documents, Uniphore states that those documents are the best source

of their full content and context. Any remaining allegations in this paragraph set forth arguments

and legal conclusions to which no response is required. To the extent this paragraph includes

any allegations to which a response is required, Uniphore denies them.



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       57.     To the extent the allegations in this paragraph purport to describe or quote

information in one or more documents, Uniphore states that those documents are the best source

of their full content and context. Any remaining allegations in this paragraph set forth arguments

and legal conclusions to which no response is required. To the extent this paragraph includes

any allegations to which a response is required, Uniphore denies them.

       58.     To the extent the allegations in this paragraph purport to describe or quote

information in one or more documents, Uniphore states that those documents are the best source

of their full content and context. Any remaining allegations in this paragraph set forth arguments

and legal conclusions to which no response is required. To the extent this paragraph includes

any allegations to which a response is required, Uniphore denies them.

       59.     To the extent the allegations in this paragraph purport to describe or quote

information in one or more documents, Uniphore states that those documents are the best source

of their full content and context. Any remaining allegations in this paragraph set forth arguments

and legal conclusions to which no response is required. To the extent this paragraph includes

any allegations to which a response is required, Uniphore denies them.

       60.     Uniphore denies the allegations in this paragraph, and specifically denies that it

has committed acts of infringement.

The Accused Instrumentality compared to the ‘535 Patent

       61.       Uniphore admits that Exhibit F appears to be a document titled “US9672535B2

– Claim 11 as applied to Emotion Research Lab.” Uniphore admits that it acquired a company

called Emotion Research Lab. To the extent the allegations in this paragraph purport to describe

or quote information in one or more documents, Uniphore states that those documents are the

best source of their full content and context. Uniphore denies the allegations to the extent they



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do not accurately represent those documents. Uniphore denies any remaining allegations in this

paragraph.

       62.     To the extent the allegations in this paragraph purport to describe or quote

information in one or more documents, Uniphore states that those documents are the best source

of their full content and context. Any remaining allegations in this paragraph set forth arguments

and legal conclusions to which no response is required. To the extent this paragraph includes

any allegations to which a response is required, Uniphore denies them.

       63.     To the extent the allegations in this paragraph purport to describe or quote

information in one or more documents, Uniphore states that those documents are the best source

of their full content and context. Any remaining allegations in this paragraph set forth arguments

and legal conclusions to which no response is required. To the extent this paragraph includes

any allegations to which a response is required, Uniphore denies them.

       64.     To the extent the allegations in this paragraph purport to describe or quote

information in one or more documents, Uniphore states that those documents are the best source

of their full content and context. Any remaining allegations in this paragraph set forth arguments

and legal conclusions to which no response is required. To the extent this paragraph includes

any allegations to which a response is required, Uniphore denies them.

       65.     To the extent the allegations in this paragraph purport to describe or quote

information in one or more documents, Uniphore states that those documents are the best source

of their full content and context. Any remaining allegations in this paragraph set forth arguments

and legal conclusions to which no response is required. To the extent this paragraph includes

any allegations to which a response is required, Uniphore denies them.




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       66.      Uniphore denies the allegations in this paragraph, and specifically denies that it

has committed acts of infringement.

                       INFRINGEMENT OF THE PATENTS-IN-SUIT

Count 1: Infringement of the ‘096 Patent

       67.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them.

       68.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.

       69.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.

       70.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.

       71.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.



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       72.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.

       73.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.

       74.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.

       75.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.

       76.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.

       77.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a




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response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.

       78.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them.

Count 2: Infringement of the ‘535 Patent

       79.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them.

       80.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.

       81.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.

       82.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.

       83.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a



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response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.

       84.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.

       85.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.

       86.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.

       87.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.

       88.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.




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       89.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.

       90.      The allegations in this paragraph set forth arguments and legal conclusions to

which no response is required. To the extent this paragraph includes any allegations to which a

response is required, Uniphore denies them, and specifically denies that it has committed acts of

infringement.

                                  DEMAND FOR JURY TRIAL

       Uniphore demands a trial by jury on all issues so triable.

                   RESPONSE TO PLAINTIFF’S PRAYER FOR RELIEF

       Uniphore denies the underlying allegations of plaintiff’s requests for relief against

Uniphore, denies that plaintiff is entitled to any relief whatsoever, and requests that the Court

deny all relief to plaintiff, enter judgment in favor of Uniphore, and award Uniphore its

attorneys’ fees as the prevailing party in the action.

                          UNIPHORE’S AFFIRMATIVE DEFENSES

       Uniphore’s affirmative defenses are provided below. Uniphore reserves the right to

amend this Answer to add affirmative defenses, including allegations of inequitable conduct or

any other defenses currently unknown to Uniphore, as they become known throughout the course

of discovery in this action. Assertion of a defense is not a concession that Uniphore has the

burden of proving the matter asserted.




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                FIRST AFFIRMATIVE DEFENSE – NON-INFRINGEMENT

       1.      Plaintiff is not entitled to any relief against Uniphore because Uniphore does not

and has not directly or indirectly infringed, either literally or under the doctrine of equivalents,

any valid and enforceable claim of the ’096 and ’535 Patents (“the Asserted Patents”).

                     SECOND AFFIRMATIVE DEFENSE – ESTOPPEL

       2.      Plaintiff is estopped from construing or interpreting any claims of the Asserted

Patents in such a way as may cover and/or include, either literally or under the doctrine of

equivalents, Uniphore’s products, processes, services, and/or activities, and/or has waived any

right to do so by reason of cancellation, limitation, or abandonment of claims, admissions,

arguments, amendments, or representations made by or on behalf of the applicants in any

proceedings before the United States Patent and Trademark Office.

                         THIRD AFFIRMATIVE DEFENSE – INVALIDITY

       3.     Each and every asserted claim is invalid for failure to meet the requirements of

Title 35, United States Code, including but not limited to, 35 U.S.C. §§ 101, 102, 103, and/or 112

thereof, and the rules, regulations, and laws pertaining thereto, and/or obviousness type double

patenting.

                FOURTH AFFIRMATIVE DEFENSE – EQUITABLE DOCTRINES

       4.     Plaintiff’s claims against Uniphore regarding the Asserted Patents are barred by

the equitable doctrines of waiver, estoppel, or acquiescence.

                FIFTH AFFIRMATIVE DEFENSE – LIMITATION OF DAMAGES

       5.      The relief sought by plaintiff is barred or limited by 35 U.S.C. §§ 286, 287, or

288. Plaintiff is not entitled to any damages for activities before the filing of this action.

Plaintiff did not notify Uniphore of its alleged infringement before the filing of this action.



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              SIXTH AFFIRMATIVE DEFENSE – NO WILLFUL INFRINGEMENT

        6.     Plaintiff is not entitled to a finding of willful infringement with a corresponding

increase in damages under 35 U.S.C. § 284.

               SEVENTH AFFIRMATIVE DEFENSE – NOT EXCEPTIONAL CASE

        7.      Plaintiff is not entitled to a finding that this case is exceptional warranting

attorneys’ fees under 35 U.S.C. § 285, or pursuant to the Court’s inherent power.

                      EIGHTH AFFIRMATIVE DEFENSE – ENSNAREMENT

        8.      Plaintiff’s claims for infringement are barred by the doctrine of ensnarement.

               NINTH AFFIRMATIVE DEFENSE – FAILURE TO STATE A CLAIM

        9.     The complaint fails to state a claim upon which relief can be granted.

        TENTH AFFIRMATIVE DEFENSE – SUBSTANTIAL NON-INFRINGING USES

        10.     Any and all products or actions accused of infringement have substantial uses that

do not infringe and do not induce or contribute to the alleged infringement of the claims of the

Asserted Patents.

                              RESERVATION OF ADDITIONAL DEFENSES

        11.     Uniphore reserves the right to assert any additional defenses or counterclaims

which may now exist or in the future may be available based on discovery and further factual

investigation in this case.

                                         REQUEST FOR RELIEF

        WHEREFORE, Uniphore respectfully requests that the Court:

        A.      Enter judgment that Uniphore does not infringe any claims of the Asserted Patents

literally or under the doctrine of equivalents;

        B.      Enter judgment that the Asserted Patents are invalid;



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        C.      Declare that this case is exceptional under 35 U.S.C. § 285; and

        D.      Award Uniphore its costs, disbursements, attorneys’ fees, and such further and

additional relief as is just and proper.

                                                       /s/ Andrew E. Russell
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Dated: August 1, 2022




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